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By my signature, l agree that the above is true to the best of my knowledgel

 

Officer Signature Medica| Personne| Signature

 

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